                      Case 3:19-mj-08687-LS Document 1 Filed 09/30/19 Page 1 of 3

AO 91 (Rev. 11/11) Criminal Complaint


                                     United States District Court
                                                                for tlie

                                                      Western District of Texas


                  United States of America
                               V.


          Mateus Felipe DE SOUZA TEXEIRA                                   3:19-IVI .08687.LS
                              and
           Maria Das Dolores REIS SANTOS



                          Defendomfsj


                                                CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On orabout the dale(s) of                 September 24, 2019               in the county of               El Paso          in the

     Western           District of            Texas            . the delendanl(s) violated;

            Code Section                                                      Offense Description
18U.S.C371                                     Two or more persons conspire to commit any offense against the United
                                               States, to defraud the United States, or any agency, in any manner or for any
                                               purpose.




         This criminal complaint is based on these facts:
See Attached Affidavit




         sf Continued on the attached sheet.


                                                                                              Coi'iplaiiumi's signaiiire

                                                                                       Oscar Flores, HSl Special Agent
                                                                                               I'riiiwtl mime and liile


Sworn to before me and signed in my presence.


Date;             09/30/2019
                                                                                                 Judge's signaiure


City and state:                         El Paso, Texas                            Leon Schydlower - U.S. Magistrate Judge
                                                                                               Primed name and tide

                                                          Oath Telephomcaily Sworn
                                                          AtJ^:^21 PM
                                                          F«d.R.Crim.P.4,1{b){2)(A)
            Case 3:19-mj-08687-LS Document 1 Filed 09/30/19 Page 2 of 3



                                          AFFIDAVIT

On September24,2019, Mateus Felipe DE SOUZA TEXEIRA (hereafter SOUZA) and Maria Das
Dolores REIS SANTOS (hereafter REIS) were apprehended by United States Border Patrol after
they entered the United States near the Paso Del Norte Port of Entry in El Paso, Texas. The place
where SOUZA and REIS entered is not designated as a port of entry by immigration officials.
SOUZA and REIS were identified as Brazilian citizens without the proper documents to be legally
present in the United States (US). Therefore, SOUZA and REIS were transported to the Border
Patrol Station for further processing.

At the Border Patrol Station, SOUZA and REIS presented themselves to immigration officials as
motherand son. SOUZA and REIS also presented duly issued Brazilian passports bearing their
nameand photos to Border Patrol Agents (BPAs). However, the passportthat SOUZA presented
identified him as Mateus Felipe SANTOS with a DOB of December 30,2001. Intake BPAs
suspected potential fraud and referred SOUZA and REIS for further questioning.

Results of a DNA test indicted 99% negative that a parent/child relationship existed between
SOUZA and REIS.

On September 26, 2019, BPA Carlos Castaneda and BPA Bruno Pimenta interviewed REIS
regarding her relationship to SOUZA. The interview was conducted in the Portuguese language
with the assistance of BPA Pimenta who is a native Portuguese speaker. REIS was served with her
Miranda rights in the Portuguese language. REIS stated she understood her rights and agreed to
answer questions without the benefit of counsel.

During the interview, REIS was advised of the DNA results. REIS then stated that she would tell
the truth. REIS admitted that SOUZA was not her son. REIS stated that she accompanied SOUZA
toa Brazilian agency posing as mother and son inorder to obtain SOUZA's passport. REIS stated
that SOUZA utilized a fraudulent ID card with a false name and DOB to make him a juvenile.
REIS statedthat SOUZA's mother made the arrangements and paid for them to come to the US.

BPA Castaneda and BPA Pimenta then interviewed SOUZA regarding his relationship to REIS.
The interview wasconducted in the Portuguese language with the assistance of BPA Pimenta who
is a native Portuguese speaker. SOUZA was served with his Miranda rights in the Portuguese
language. SOUZA stated he understood his rights and agreed to answer questions without the
benefit of counsel.

During the interview, SOUZA admitted that REIS was not his real mother. SOUZA stated he met
REIS when he traveled to Sao Paulo, Brazil, to obtain his passport. SOUZA stated he and REIS
posed as a family unit (mother and son) when obtaining the passport. SOUZA stated he utilized a
fraudulent ID with a false name and DOB. The false DOB used made SOUZA appear to be a
juvenile. SOUZA provided the BPAs with istrue and correct name and his true DOB of February
28,1996, which makes him twenty-three years old. SOUZA statedhis real mother paid$6,000.00
            Case 3:19-mj-08687-LS Document 1 Filed 09/30/19 Page 3 of 3



USD to an unknown Brazilian smuggler and SOUZA was to pay an additional $6,000.00 USD
once he was settled and working in the US. SOUZA admitted that he knowingly presented a
fraudulent passport in order to obtain an immigration benefit as a family unit.

Because this Affidavit is being submitted for the limited purpose of establishing probable cause as
set forth herein, I have not included every fact know to me concerning this investigation.
